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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 17-62366-CIV-COHN/SELTZER

   DUANE STARKS, JEVON KEARSE,
   LAVERANUES COLES and LITO SHEPPARD,

           Plaintiffs,

   v.

   CHUHAK & TECSON, P.C., GARY J. STERN,
   DAVID SHINER, and JEANNE KERKSTRA

           Defendants.
                                              /

                         ORDER DISMISSING CASE WITH PREJUDICE

          THIS CAUSE is before the Court upon the Stipulation to Dismiss (“Stipulation”)

  [DE 220]. The Court has reviewed the Stipulation and the record in this case and is

  otherwise advised in the premises. Accordingly, it is thereupon ORDERED AND

  ADJUDGED as follows:

        1. This case is DISMISSED WITH PREJUDICE.

        2. Each Party shall bear its own attorneys’ fees and costs, except as otherwise

           provided in their settlement agreement.

        3. The Clerk of Court is directed to CLOSE this case and DENY as moot all

           pending motions.

          DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County,

  Florida, this 10th day of May, 2019.




  Copies provided to:
  Counsel of record via CM/ECF
